Case 2:12-cr-00012-RAED         ECF No. 307, PageID.1073            Filed 06/20/13     Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 2:12-cr-12-11

 v.                                                         HON. ROBERT HOLMES BELL

 JOHN HOHENEDER III

            Defendant.
 _________________________________/


                                     ORDER OF DETENTION


               Defendant John Hoheneder III appeared before the undersigned on June 14, 2013, for

an initial pretrial conference and detention hearing. The court finds that based on the information

provided by pretrial services that defendant must be detained pursuant to 18 U.S.C. § 3142.1

Accordingly, the court advised defendant that he would remain detained pending further

proceedings, and that the matter of detention will remain open should defendant be able to find a

suitable residence and custodian.

               IT IS SO ORDERED.



Date: June 20, 2013                                           /s/ Timothy P. Greeley
                                                             TIMOTHY P. GREELEY
                                                             United States Magistrate Judge



               1
                At the hearing, the defendant was informed that he would need to provide the court
with a residence and custodian, approved in advance by pretrial services, in order for the court to
consider the defendant's release.
